






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00583-CV






Pifi Constancio, Individually and on behalf of The Estate of

Ruben Constancio, Deceased, Appellant


v.


James Bray, M.D., Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT

NO. B-06-0157-C-1, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING



				

D I S S E N T I N G   O P I N I O N


		The expert report requirement for health-care liability claims serves a gatekeeping
function designed to promptly identify frivolous lawsuits while preserving meritorious claims.  At
this early stage in the proceedings, the key concerns are identifying the specific conduct at issue and
demonstrating the expert's opinions have a sound basis.  The standards are "objective good faith"
and "fair summary of the expert's opinions."  Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(l), (r)(6)
(West Supp. 2008).  Because the second expert report served by appellant in this case meets those
standards, I would reverse the trial court's order granting Dr. Bray's motion to dismiss.  For this
reason, I respectfully dissent.


FACTUAL AND PROCEDURAL BACKGROUND

		On February 3, 2006, appellant filed suit against Shannon West Texas Memorial
Hospital and Dr. James Bray, alleging that they negligently caused the death of her husband,
Ruben&nbsp;Constancio.  According to appellant's petition, Mr. Constancio suffered a cardiorespiratory
arrest on December 1, 2003; he was resuscitated and his vital signs were restored, but he never
recovered and was pronounced dead on December 13, 2003.  Only the claims against Dr. Bray
are&nbsp;currently before this Court.  Appellant alleged that Dr. Bray, who treated Mr. Constancio on
November 30, 2003 and December 1, 2003, was negligent in (i) ordering Ativan, morphine and
Phenergan (1) to be administered to Mr. Constancio in the face of respiratory distress; (ii) not coming
in to evaluate the patient in the face of respiratory distress and deterioration; and (iii) decreasing
the&nbsp;frequency of nursing assessments and vital sign checks in the face of respiratory distress
and&nbsp;deterioration.

		On the same date appellant filed suit, she served the expert report and curriculum
vitae of Dr. J. Steven Hata, a triple board-certified physician who serves as director of the Surgical
Intensive Care Unit at the University of Iowa College of Medicine.  See id. § 74.351(a) (requiring
claimant in health care liability case to file expert report and curriculum vitae within 120 days of
filing suit).  Dr. Bray filed a motion objecting to the adequacy of the expert report on February 22
(19 days after Dr. Hata's report was served).  See id. (requiring defendant whose conduct is
implicated in report to file and serve any objections to report's sufficiency within 21 days after report
was served).  In response, appellant asserted that the expert report was adequate and that the motion
should be denied, but requested, in the alternative, that the court grant a 30-day extension in which 

to cure any defects in the report.  The court held a hearing on Dr. Bray's motion on May 5 (96 days
after the original report was served) and found that Dr. Hata's expert report did not sufficiently
address the standard of care applicable to Dr. Bray or causation.  The court therefore granted
Dr.&nbsp;Bray's motion, but also granted appellant's request for a 30-day extension, with the extension
to run from that date, May 5.

		On May 30 (day 116), appellant filed an amended report from Dr. Hata.  Dr. Bray
filed a motion to dismiss asserting that this second report also was inadequate.  See id. §&nbsp;74.351(b)-(c) (mandating dismissal with prejudice for failing to serve expert report within 120-day period
unless court grants one-time, 30-day extension).  Appellant filed a response and again requested
an&nbsp;extension.  The trial court found that the second report failed to adequately address causation
and&nbsp;therefore granted Dr. Bray's motion to dismiss.  The court also denied appellant's request for
an extension.


The expert report requirement

		In a health-care liability claim, the claimant must provide each defendant with one
or more expert reports, including a curriculum vitae for each expert, within 120 days of filing the
original petition.  Id. § 74.351(a).  An "expert report" is:


	a written report by an expert that provides a fair summary of the expert's opinions as
of the date of the report regarding applicable standards of care, the manner in which
the care rendered by the physician or health care provider failed to meet the
standards, and the causal relationship between the failure and the injury, harm, or
damages claimed.



Id. § 74.351(r)(6).  A report need not marshal all of the plaintiff's proof, but it must include the
expert's opinion on each of the elements identified in the statute.  American Transitional Care Ctrs.
of Tex., Inc. v. Palacios, 46 S.W.3d 873, 878 (Tex. 2001).  To constitute a good faith effort, the
report must inform the defendant of the specific conduct called into question and provide a basis
for&nbsp;the trial court to determine that the claims have merit.  Id. at 879.  A report does not fulfill these
two purposes if it fails to address the standard of care, breach of the standard, and causation, or if
it merely states the expert's conclusions regarding these elements.  Id.  The expert must explain the
basis of his statements to link his conclusions to the facts.  Bowie Mem'l Hosp. v. Wright, 79 S.W.3d
48, 52 (Tex. 2002) (quoting Earle v. Ratliff, 998 S.W.2d 882, 890 (Tex. 1999)).


Dr. Hata's second report

		Appellant filed three reports from Dr. Hata.  At issue on appeal is the adequacy of
the&nbsp;second report, which was filed on May 30, 2006.  That report begins with a summary of
Dr.&nbsp;Hata's qualifications and then recounts the medical care Mr. Constancio received after he was
admitted to the hospital on November 29, 2003, with "complaints of cough, cold symptoms,
abdominal pain, and delirium":


	On 11/30/03 Dr. Bray reported that the patient was mildly agitated. . . .  He stated that
agitation might be secondary to pain.  At 0100 he ordered wrist restraints.  At 0145
Mr. Constancio showed a pulse oximetry (2) reading of 84-85% on room air.  At 0405
hours Dr. Bray ordered nebulized bronchodilators.  Nursing notes report coarse
respiratory sounds.  At 0503 hours Dr. Bray decreased vital sign monitoring from
every one hour to every 4 hours.  At 0830 hours he ordered Phenergan, Ativan, and
morphine orally or intravenously on an as necessary basis.  At 1400 hours Dr. Bray
ordered Haldol 10 milligrams IV.  Nursing notes at 2000 hours report that the patient
was in a supine position, "thrashing around agitated", with coarse breaths bilaterally. 
Mr. Constancio's Glasgow score decreased from 15 to 12 by 2300 hours.

	

	On 12/1/03 at 0040 Mr. Constancio showed tachypnea with a respiratory rate of 32
with bilateral wheezes with a heart rate of 102.  No pulse oximetry was reported.  His
nurse reports that he was agitated at 0145 hours.  There was no report of pain, nausea,
or anxiety.  The nurse . . . injected lorazepam 0.5 mg IV, morphine 2.0 mg IV, and
Phenergan 25 mg IV, all at 0145 hours into Mr. Constancio.  There are no vital signs
written at this time or pulse oximetry.  At 0230 hours, Mr. Constancio was reportedly
asleep.  Mr. Constancio coded at 0340 hours.  He required intubation and mechanical
ventilation.  He was then admitted to the ICU and treated with broad-spectrum
antibiotics.  Blood cultures were positive for methicillin resistant Staphylococcus
aureus.  Chest x-ray showed chest infiltrates suggestive of pulmonary edema.


	The patient showed no responsiveness after the event.  Dr. Chang (3) stated that
findings were consistent [with] anoxic encephalopathy. (4)  The patient died on
12/13/03.



The report next lists six actions the standard of care applicable to Dr. Bray allegedly required:



	Based upon the medical condition of Mr. Constancio [and] based upon the medical
record, the standard of care for Dr. Bray would have required:

	(1)	Re-evaluation of the increasingly disoriented patient on 11/30/03 and 12/1/03
by going to the patient's bedside, listen[ing] to the lungs with a stethoscope
and performing a neurologic examination;


	(2)	obtain current blood studies of his glucose level to monitor for diabetic
ketoacidosis with blood tests;

	

	(3)	monitor continuous oxygen saturation levels with the use of pulse oximetry
recorded at least every 15 minutes;

	

	(4)	increase, rather than decrease, the frequency of monitoring vital signs (blood
pressure; pulse; respirations; and blood oxygen saturation);

	

	(5)	admit Mr. Constancio to ICU for intensive monitoring;

	

	(6)	place Mr. Constancio on supplemental oxygen.



The report then states that Dr. Bray deviated from the standard of care because he failed to take each
of the six actions listed.  The report ends with a two-paragraph discussion titled "Causation":


	Had Dr. Bray complied with the standard of care, within reasonable medical
probability, Mr. Constancio would not have died when he did.  Closer evaluation on
11/30/03 and 12/1/03 would have led Dr. Bray to recognize that Mr. Constancio's
agitation was not a response to pain, but a symptom of hypoxemia. (5)  Hypoxia (6)
probably caused this patient to become agitated.  This is confirmed with a pulse
oximetry reading of 84-85%.  Pulse oximetry at this level in this patient is
significantly abnormal and indicates hypoxemia.


	In the face of these changes, Dr. Bray reduced Mr. Constancio's monitoring schedule. 
Had Dr. Bray admitted Mr. Constancio to the Intensive Care Unit, Mr. Constancio
would have received constant monitoring and his hypoxic condition would have
been, in reasonable medical probability, recognized by the nursing staff and alerted
Dr. Bray.  The standard of care at that point in time would be for Dr. Bray to put
Mr.&nbsp;Constancio on supplemental oxygen or a ventilator; treat the diabetic
ketoacidosis by lowering his blood glucose, and he would have recognized the
combination effects of the medications given and reversed those with medical
support in the Intensive Care Unit.  Had this been done, Mr. Constancio would not
have, in reasonable medical probability, died during that hospitalization, and would
have, in reasonable medical probability, recovered and been discharged.  Diagnosis
would be community acquired pneumonia and diabetic ketoacidosis, the majority of
patients with this diagnosis survive if reasonable care is provided.



ANALYSIS

		On appeal, appellant contends that (1) the trial court erred in granting Dr. Bray's
motion to dismiss because Dr. Hata's second report was sufficient, and (2) the trial court erred in
granting an extension of time that was not in conformance with the statutory 30-day extension
provided by section 74.351(c).  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(c).


Standard of review

		We review a trial court's ruling on a motion to dismiss under section 74.351(b) for
an abuse of discretion.  See Palacios, 46 S.W.3d at 877-78.  We also review a trial court's order
granting or denying a 30-day extension to cure an expert report using an abuse of discretion standard. 
Ogletree v. Matthews, No. 06-0502, 2007 Tex. LEXIS 1028, at *10 (Tex. 2007).  A trial court abuses
its discretion if it acts in an arbitrary or unreasonable manner or without reference to any guiding
rules and principles.  Downer v. Aquamarine Operators, Inc., 701 S.W.2d 238, 241-42 (Tex. 1985). 
When reviewing matters committed to the trial court's discretion, we may not substitute our own
judgment for that of the trial court.  Walker v. Gutierrez, 111 S.W.3d 56, 63 (Tex. 2003).


The motion to dismiss

		A report may be held inadequate as to causation only if it does not constitute an
objective good faith effort to provide a fair summary of the expert's causation opinions.  Tex. Civ.
Prac. &amp; Rem. Code Ann. § 74.351(l), (r)(6).  The supreme court addressed the adequacy of an
expert&nbsp;report's discussion of causation under the former expert report statute in Bowie Memorial
Hospital, 79 S.W.3d at 48.  In that case, the court upheld a trial court's determination that an
expert&nbsp;report failed to adequately address causation.  Id. at 53.  The report included only one
statement addressing causation:  "I do believe that it is reasonable to believe that if the x-rays would
have been correctly read and the appropriate medical personnel acted upon those findings then [the
plaintiff] would have had the possibility of a better outcome." Id. at 51.  The court concluded that,
because the report lacked "information linking the expert's conclusion (that [the plaintiff] would
have had 'the possibility of a better outcome') to [the defendant's] alleged breach (that it did not
correctly read and act upon the x-rays), the trial court could have reasonably determined that the
report was conclusory."  Id. at 53.  The court stated that, "while the expert report does not need to
marshal all the evidence necessary to establish causation at trial, it must contain sufficiently specific
information to demonstrate causation beyond mere conjecture."  Id. at 52.

		Relying on Bowie Memorial Hospital, 79 S.W.3d at 51, the majority concludes
that&nbsp;Dr. Hata's second report did not adequately "indicate" and state what "ultimately" caused
Mr.&nbsp;Constancio's death.  I disagree.  The statements in Dr. Hata's report are distinguishable from
the&nbsp;conclusory statements at issue in those cases cited by the majority.  While the initial statement
alone in Dr. Hata's report addressing causation--"Had Dr. Bray complied with the standard of care,
within reasonable medical probability, Mr. Constancio would not have died when he did"--is
conclusory, Dr. Hata's report goes further.  As the majority recognizes, the report clearly ties
Dr.&nbsp;Bray's failure to re-evaluate or more closely evaluate Mr. Constancio on November 30 and
December 1 to Dr. Bray's failure to diagnose hypoxemia.  The report states that such evaluation
"would have led Dr. Bray to recognize that Mr. Constancio's agitation was not a response to
pain,&nbsp;but a symptom of hypoxemia."  This conclusion is tied to the facts by the statements that
(1)&nbsp;"[h]ypoxia probably caused this patient to become agitated;" (2)&nbsp;"[t]his is confirmed with a pulse
oximetry reading of 84-85%;" and (3)&nbsp;"[p]ulse oximetry at this level in this patient is significantly
abnormal and indicates hypoxemia."

		Similarly, the report ties the decrease in monitoring vital signs and the failure to
admit&nbsp;Mr. Constancio to the ICU for intensive monitoring to the failure to diagnose hypoxemia.  The
report states that, "[i]n the face of these changes [i.e. significantly abnormal pulse oximetry
and&nbsp;agitation likely due to hypoxia], Dr. Bray reduced Mr. Constancio's monitoring schedule.  Had
Dr. Bray admitted Mr. Constancio to the Intensive Care Unit, Mr. Constancio would have received
constant monitoring and his hypoxic condition would have been, in reasonable medical probability,
recognized by the nursing staff and alerted Dr. Bray."

		The report's next statement lists the actions that should have been taken after
recognizing hypoxemia--putting Mr. Constancio on supplemental oxygen or a ventilator, lowering
his blood glucose to treat his diabetic ketoacidosis, and recognizing and reversing the combination
effects (7) of the medications given.  The report then states that "[h]ad this been done, Mr. Constancio
would not have, in reasonable medical probability, died during that hospitalization, and would
have,&nbsp;in reasonable medical probability, recovered and been discharged."  Viewed in isolation, this
sentence would seem conclusory.  However, this statement is tied to the previously mentioned three
actions Dr. Hata states should have occurred after recognizing hypoxemia.  It is also linked to the
subsequent sentence, which states that the "[d]iagnosis would be community acquired pneumonia
and diabetic ketoacidosis, [and] the majority of patients with this diagnosis survive if reasonable care
is provided."  Dr. Hata's final sentence clarifies that he believes Mr. Constancio had community
acquired pneumonia and diabetic ketoacidosis, but that Mr. Constancio would not have died from
those conditions had he received reasonable care.

		The majority faults the report for failing to make an additional link that ties the
failure&nbsp;to diagnose Mr. Constancio's hypoxemia to his ultimate death.  According to the majority,
Dr. Hata's report fails to make this final link because he mentions several medical conditions
but&nbsp;never expressly states from what Mr. Constancio died.  Dr. Hata's report, however, states that
Mr. Constancio "showed no responsiveness" after he coded and that "Dr. Chang stated that the
findings were consistent [with] anoxic encephalopathy," which is a degenerative disease of the brain
caused by hypoxia.  See supra note 4.  The next sentence states that "[t]he patient died on 12/13/03." 
At a minimum, Dr. Hata's report ties the failure to diagnose hypoxemia to Mr. Constancio coding
and showing no responsiveness after he coded.  The majority concludes that this link is not sufficient
to sustain appellant's claim.  I disagree.

		The report satisfies the standards required by the statute--"fair summary of the
expert's opinions" and "objective good faith."  Dr. Hata's report addresses all three statutorily
required elements and states more than mere conclusions as to each element. (8)  See Palacios,
46&nbsp;S.W.3d at 878.  It also explains the factual basis for Dr. Hata's statements, links his conclusions
to the facts, and contains "sufficiently specific information to demonstrate causation beyond mere
conjecture."  See Bowie Mem'l Hosp., 79 S.W.3d at 52.  The report links the alleged breaches of
the&nbsp;standard of care to Dr. Bray's failure to diagnose hypoxemia and further links the failure to
diagnose hypoxemia to Mr. Constancio's coding and showing no responsiveness after coding.  The
report therefore represents a fair summary of Dr. Hata's opinions.  See Tex. Civ. Prac. &amp; Rem. Code
Ann. § 74.351(r)(6).  In addition, the report informs Dr. Bray of the specific conduct called into
question and provides a sufficient basis to determine whether the claims have merit.  See Palacios,
46 S.W.3d at 879.  The report therefore also represents "an objective good faith effort to comply with
the definition of an expert report."  See Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;74.351(l), (r)(6). 
Because the report provides a fair summary of Dr. Hata's opinions and represents an objective good
faith effort to comply with the definition of an expert report, the trial court abused its discretion in
granting Dr. Bray's motion to dismiss.  I would reverse the trial court's order.


Extension of time

		With regard to the second issue, I agree with the majority that the trial court
improperly calculated the period of time to cure the deficiencies of the first amended report, resulting
in only a 7-day extension of the 120-day deadline for serving reports.  Having exercised its discretion
to grant an extension to cure a report it found deficient, the trial court does not have discretion as to
the length of the extension.  Section 74.351's plain language permits the court to grant "one 30-day
extension to the claimant in order to cure the deficiency."  Id. §&nbsp;74.351(c); Leland v. Brandal,
No.&nbsp;06-1028, 2008 Tex. LEXIS 574, at *6-10 (Tex. June 13, 2008) (discussing 30-day extension);
Ogletree, 2008 Tex. LEXIS 1028, at *7 (same).  I therefore disagree with the majority's general
remand.  Because the trial court has exercised its discretion to grant an extension, but erred as to its
length as the majority also seems to conclude, I would remand with instructions to grant "one 30-day
extension."


CONCLUSION

		Because the second expert report proffered by Constancio satisfies the statutory
requirements for an expert report and the trial court therefore abused its discretion in granting
Dr.&nbsp;Bray's motion to dismiss, I would reverse the trial court's order.  Alternatively, I would remand
with instructions to grant the statutory extension.


						                                                                                    

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   September 5, 2008
1.   In her first-amended petition, appellant contends that these three drugs cause respiratory
depression to some degree and "in combination they can synergistically significantly increase
respiratory depression."
2.   A pulse oximeter is a device that measures the oxygen saturation of arterial blood. 
Dorland's Illustrated Medical Dictionary 1343 (Douglas M. Anderson chief lexicographer, 30th ed.
2003) [hereinafter Dorland's].
3.   Appellant's first amended petition states that Mr. Constancio was a patient of Dr. Chang,
but that Dr. Bray was Dr. Chang's "covering partner" on November 30, 2003, and December 1,
2003.
4.   Anoxic encephalopathy is synonymous with hypoxic encephalopathy, which is a
degenerative disease of the brain caused by hypoxia from either decreased rate of blood flow or
decreased oxygen content of arterial blood.  Dorland's, supra note 2, at 610-11.
5.   Hypoxemia is deficient oxygenation of the blood.  Dorland's, supra note 2, at 900.
6.   Hypoxia is a reduction of oxygen supply to tissue below physiological levels despite
adequate perfusion of the tissue by blood.  Id.
7.   Dr. Hata's original report included an explanation of the "combination effects" of the
medications.  In that report, he stated that "[i]t is well understood in medicine that the use of Ativan,
Phenergan and morphine when injected in close proximity of time raises unreasonable risk of
synergistic reaction greatly exacerbating each of the drug's individual abilities to provoke respiratory
depression and/or respiratory arrest."  In that report Dr. Hata also expressly stated his opinion of
what caused Mr. Constancio's death: "The injections of these three drugs increased the risk of
somnolence and respiratory failure in this patient.  It is my opinion that these medications given
caused the patient's death due to the depression of his respiratory function."  These statements were
not included in Dr. Hata's second report.
8.   An expert report will necessarily include the conclusions of an expert.  Problems with
adequacy arise when the report states mere conclusions, such as a single statement that the breach
of the standard of care caused the injury.  These types of conclusory statements do not inform the
defendant of the specific conduct called into question and do not provide a basis for the trial court
to determine that the claims have merit.  See American Transitional Care Ctrs. of Tex., Inc.
v.&nbsp;Palacios, 46 S.W.3d 873, 878 (Tex. 2001).


